

Goshen Mtge. LLC v Crawford (2022 NY Slip Op 03966)





Goshen Mtge. LLC v Crawford


2022 NY Slip Op 03966


Decided on June 16, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 16, 2022

Before: Acosta, P.J., Kapnick, Friedman, Mendez, Higgitt, JJ. 


Index No. 32880/16 Appeal No. 16133 Case No. 2021-03773 

[*1]Goshen Mortgage LLC, etc., Plaintiff-Respondent,
vMaurice Crawford, Defendant-Appellant, New York City Environmental Control Board et al., Defendants.


Binakis Law PC, Woodside (Patrick Binakis of counsel), for appellant.
Kosterich &amp; Skeete, LLC, White Plains (Denise Singh Skeete of counsel), for respondent.



Order, Supreme Court, Bronx County (Doris M. Gonzalez, J.), entered March 3, 2021, which denied defendant's motion to vacate a judgment of foreclosure and sale, unanimously affirmed, without costs.
Defendant was properly served notice of entry of the prior order entered November 20, 2019 denying his application for the same relief. Even if its mail service were defective, plaintiff duly served defendant electronically by filing with NYSCEF a copy of the order with written notice of its entry on December 12, 2019, notification of which was transmitted to the email service addresses of defendant and his counsel
(see  Uniform Rules for Trial Cts [22 NYCRR] §§ 202.5-b [f] [2] [ii], [h] [2]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 16, 2022








